Case 2:02-cv-02282-SHI\/|-dkv Document 181 Filed 08/23/05 Page 1 of 4 Page|D 305

IN THE UNITED sTATEs DISTRICT cOuRT mfg BY“_ ______p_c,
FOR THE wEsTERN DISTRICT oF TENNESSEE

 

WESTERN DIVISION 05 AUG 23 AH 63 52
BARRY FIALA, INC . , Mp§I§W&H-[
' nr":-€ :.;elf:\
Plaintiff and wm""y`jm%
Counter-Defendant,
VS. NO. 02-2282-Ma

ARTHUR BLANK & CO. , INC. ,

Defendant and
Counter-Plaintiff,

VS .
MOORE NOR'I‘H AMERICA, INC. ,

Third Party Defendant.

 

ORDER ON PENDING MOTION

 

On October 14, 2004, plaintiff filed a motion to continue
the October 29 hearing on the motion for hearing on Fiala’s
motion to clarify. This case has been settled and an order of
dismissal has been entered. The October 14, 2004, motion (D.E.
No. 158) is moot.

It is so ORDERED this qL Say of August, 2005.

JAe/M`

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

T?;ig document entered on the docko :*»2¢=‘#_ in c mpliance
- ~`_ @-m!orw\'a) FR@P on g ' lim

\

/3/

   

UN1TE STAETS D1STR1CT OURT - WESTE1\1RISR1CTOFTN1\HESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 181 in
case 2:02-CV-02282 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Barry E Bretschneider
MORRISON & FOERSTER, LLP
2000 Pennsylvania Ave. N.W.
Washington, DC 20006

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

James L. Coggin

MARTIN TATE MORROW & MARSTON
22 North Front St.

Suite 1 100

1\/1emphis7 TN 38103--118

Daniel J. Gleason

NUTTER MCCLENNEN & FISH
World Trade Center West

155 Seapcrt Blvd

Boston7 MA 02210--260

Kenneth R. Berman

NUTTER MCCLENNEN & FISH
World Trade Center West

155 Seapcrt Blvd

Boston7 MA 02210--260

Sara Margaret Falkinham
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

.1 ames D. Veltrcp

AXINN VELTROP & HARKRlDER LLP
90 State House Square

Hartford, CT 06103--370

Case 2:02-cv-02282-SHI\/|-dkv Document 181 Filed 08/23/05 Page 3 of 4 Page|D 307

Michael A Albert

WOLF GREENFIELD & SACKS, P.C.
600 Atlantic Ave.

Bc)ston7 MA 02210--220

Matthew 13 LoWrie

WOLF GREENFIELD & SACKS, P.C.
600 Atlantic Ave.

Bc)ston7 MA 02210--220

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Pcplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Ronald E. Cahill

NUTTER MCCLENNEN & FISH
World Trade Center West

155 Seapcrt Blvd.

Bc)ston7 MA 02210--260

Russell H. Walker

WALKER MCKENZIE & WALKER, P.C.
6363 Pcplar Avenue

Ste. 434

1\/1emphis7 TN 38119

Paul Howard Morris

MARTIN TATE MORROW & MARSTON
6410 Pcplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Chad A. Landmcn
AXINN VELTROP & HARKRlDER LLP

90 State House Square
Hartford, CT 06103--370

Case 2:02-cv-02282-SH|\/|-dkv Document 181

Timothy R. Johnscn

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

Filed 08/23/05 Page 4 of 4 Page|D 308

